                   Case 07-10416-BLS                      Doc 5954-2               Filed 04/14/08               Page 1 of 2




                                `IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


In re
                                                                          Chapter 11
NEW CENTURY TRS HOLDINGS,                                                 Case No. 07-10416-KJC, et seq.
INC., et al.,
                                                                          Objections due by: April 29, 2008, 4:00 p.m.
                                                                          Hearing Date: May 7, 2008, 10:00 a.m.
                                  Debtors.


         NOTICE OF MOTION OF DEUTSCHE BANK TRUST COMPANY
    AMERICAS, AS TRUSTEE AND CUSTODIAN FOR HSBC BANK USA, NA ACE
  2006-NC1 BY: SAXON MORTGAGE SERVICES INC. AS ITS ATTORNEY-IN-FACT
   FOR RELIEF FROM STAY UNDER SECTION 362 OF THE BANKRUPTCY CODE

TO:        Parties listed on the Certificate of Service

       Deutsche Bank Trust Company Americas, as Trustee and Custodian for HSBC Bank
USA, NA ACE 2006-NC1 by: Saxon Mortgage Services Inc. as its attorney-in-fact has filed a
Motion for Relief from Stay which seeks the following relief: Relief from the automatic stay to
exercise its non-bankruptcy rights with respect to a parcel of real property in which the above-
captioned debtor may hold an interest, located at 5166 S. 45th St., Omaha, NE 68117.
           HEARING ON THE MOTION WILL BE HELD ON MAY 7, 2008, 10:00 A.M.

        You are required to file a response (and the supporting documentation required by Local
Rule 4001-1(d)) to the attached motion at lease five business days before the above hearing date.
At the same time, you must also serve a copy of the response upon movant’s attorneys:

                                              Adam Hiller, Esquire
                                              Maria Aprile Sawczuk, Esquire
                                              Draper & Goldberg, PLLC
                                              1500 North French Street, 2nd Floor
                                              Wilmington, Delaware 19801
                                              (302) 339-8776 telephone

       The hearing date specified above may be a preliminary hearing or may be consolidated
with the final hearing, as determined by the Court.

        The attorneys for the parties shall confer with respect to the issues raised by the motion in
advance for the purpose of determining whether a consent judgment may be entered and/or for
the purpose of stipulating to relevant facts such as value of the property, and the extent and
validity of any security instrument.


Movant: Deutsche Bank Trust Company Americas, as Trustee and Custodian for HSBC Bank USA, NA ACE 2006-NC1 by: Saxon Mortgage Services Inc. as its
attorney-in-fact
D&G Reference: 214238/NinaSub2
Property Address: 5166 S. 45th St., Omaha, NE 68117
           Case 07-10416-BLS   Doc 5954-2   Filed 04/14/08    Page 2 of 2




    IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE,
THE RELIEF REQUESTING IN THE MOTION MAY BE GRANTED BY THE
COURT WITHOUT FURTHER NOTICE OR HEARING.
Dated: April 13, 2008               Respectfully submitted,
       Wilmington, Delaware
                                    DRAPER & GOLDBERG, PLLC


                                     /s/ Adam Hiller
                                    Adam Hiller (DE No. 4105)
                                    Maria Aprile Sawczuk (DE No. 3320)
                                    1500 North French Street, 2nd Floor
                                    Wilmington, Delaware 19801
                                    (302) 339-8776 telephone
                                    (302) 213-0043 facsimile

                                    Attorneys for Movant




                                      -2-
